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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

COREY JOHNSON                                                                    PETITIONER
ADC #155181

v.                              Case No. 4:20-cv-01341-LPR

DEXTER PAYNE
Director, ADC                                                                   RESPONDENT

                                         JUDGMENT

       Pursuant to the Order that was entered on this day, it is considered, ordered, and adjudged

that this Petition for Writ of Habeas Corpus is DENIED and this case is DISMISSED without

prejudice.

       IT IS SO ADJUDGED this 11th day of January 2021.



                                                    _________________________________
                                                    LEE P. RUDOFSKY
                                                    UNITED STATES DISTRICT JUDGE
